 1   ALICIA A.G. LIMTIACO
     United States Attorney
 2   FREDERICK A. BLACK
     Assistant U.S. Attorney
 3   Sirena Plaza, Suite 500
     108 Hernan Cortez Avenue
 4   Hagåtña, Guam 96910
     PHONE: (671) 472-7332
 5   FAX: (671) 472-7215
     Attorneys for the United States of America
 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                                 FOR THE TERRITORY OF GUAM

 9
     UNITED STATES OF AMERICA,                           CRIMINAL CASE NO. 10-00068
10                                                       CRIMINAL CASE NO. 10-00076
                           Plaintiff,
11
                           vs.                             RULE 35 MOTION TO
12                                                         REDUCE SENTENCE

13
     MELVIN JOHN SALAS NAPUTI,
14
                           Defendant.
15

16
            The United States of America moves pursuant to Federal Rule of Criminal Procedure
17
     35(b)(2)(C) for a reduction of sentence for 12 months for the substantial cooperation provided by
18
     Defendant Melvin John Salas Naputi in the trial of United States v. Mateo B. Sardoma, Jr., et.
19
     al., CR12-00010.
20
            Upon the Government’s motion made more than one year after sentencing the court may
21
     reduce a sentence if the defendant’s substantial assistance involved information the usefulness of
22
     which could not reasonably have been anticipated by the defendant until more than one year after
23
     sentencing and which was promptly provided to the government after its usefulness was
24
     reasonably apparent to the defendant. FRCP 35(b)(2)(C).

                                                     1

                  Case 1:10-cr-00068 Document 42 Filed 11/12/14 Page 1 of 3
 1           Defendant Naputi was sentenced on August 8, 2011. He was sentenced to 10 years

 2   incarceration in both cases, to run concurrently.

 3           Defendant Naputi, twice travelled to Guam from the federal prison to give testimony

 4   about drug trafficking on Guam. On February 8, 2012, Defendant Naputi was put before the

 5   federal grand jury and provided valuable and useful information regarding Mateo Sardoma and

 6   his drug organization, involving how he was receiving his methamphetamine and how he was

 7   distributing it.

 8        On February 15, 2012, Mateo B. Sardoma, Jr., Rudy Sablan, and Maria Edrosa were indicted

 9   by the Federal Grand Jury in Criminal Case No. 12-00010 and trial commended on June 11,

10   2013. Defendant Naputi testified in that trial as to events he witnessed involving drug trafficking

11   and firearms concerning the Sardoma methamphetamine criminal enterprise. The testimony of

12   Defendant Naputi was helpful, credible and corroborated by other witness testimonies. On

13   October 29, 2013, the jury returned with guilty verdicts for Sardoma, Sablan and Edrosa for

14   felony drug and firearm charges.

15           In testifying about the activities of dangerous drug offenders, Defendant Naputi took the

16   same risk that numerous other defendant witnesses did. The Government requested the

17   cooperation of Defendant Naputi and he provided it. His testimony came way after his own

18   sentencing on August 8, 2011. Never-the-less, his testimony was timely and useful in convicting

19   the leader of Guam’s largest drug trafficking organization in the years 2010 to 2012.

20           In testifying about this drug organization, Defendant Naputi rendered a valuable public

21   service and helped to terminate a drug organization that had caused tremendous destruction on

22   //

23   //

24   //


                                                         2

                   Case 1:10-cr-00068 Document 42 Filed 11/12/14 Page 2 of 3
 1   Guam. His truthful cooperation also demonstrated a positive step forward towards his own

 2   rehabilitation. Defendant Naputi should be rewarded for his cooperation by a lessened sentence

 3   of 12 months.

 4          Respectfully submitted this 12th day of November, 2014.

 5                                                             ALICIA A.G. LIMTIACO
                                                               United States Attorney
 6                                                             Districts of Guam and NMI

 7
                                                        By:    /s/ Frederick A. Black_______
 8                                                             FREDERICK A. BLACK
                                                               Assistant U.S. Attorney
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


                                                    3

                 Case 1:10-cr-00068 Document 42 Filed 11/12/14 Page 3 of 3
